







		NO. 12-08-00373-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




MICHAEL KENNEDY,§
	APPEAL FROM THE 349TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


MEDICAL DEPARTMENT,

SHERIFF DEPARTMENT

AND FORREST BRADBERRY,§
	ANDERSON COUNTY, TEXAS

APPELLEES






MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for Appellant's failure to comply with the Texas Rules of
Appellate Procedure.  See Tex. R. App. P. 42.3.

	Appellant's docketing statement was due to have been filed at the time the appeal was
perfected, i.e., September 19, 2008.  See Tex. R. App. P. 32.1.  On that date, this court notified
Appellant that he should file a docketing statement within ten days if he had not already done so. 
However, Appellant failed to file a docketing statement.

	On October 2, 2008, this court issued a second notice advising Appellant that the docketing
statement was past due and giving him until October 13, 2008 to comply with Rule 32.1.  The notice
further provided that failure to comply with this second notice would result in the appeal being
presented for dismissal in accordance with Rule 42.3.  The time for filing the docketing statement
under this second notice has expired, and Appellant has not filed the docketing statement as required
by Rule 32.1 and the court's notices.  




	Because Appellant has failed, after notice, to comply with Rule 32.1, the appeal is dismissed. 
See Tex. R. App. P. 42.3(c).

Opinion delivered October 22, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

							






























		







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